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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF OKLAHOMA

 PATRICIA THOMPSON, as personal
 representative of the ESTATE OF
 MARCONIA LYNN KESSEE,

               Plaintiff,
                                                         Case No. CIV-19-113-SLP
        v.

 NORMAN REGIONAL HOSPITAL
 AUTHORITY d/b/a NORMAN
 REGIONAL HOSPITAL, et. al.

                    Defendants.


                              NOTICE OF SETTLEMENT

       Plaintiff Brittany Reid, as Personal Representative of the Estate of Marconia Lynn

Kessee, and Defendants Turn Key Health Clinics, LLC and Clayton Rickert, by and through

their counsel of record, and hereby notify the Court that the claims brought by Plaintiff against

Defendants Turn Key Health Clinics, LLC and Clayton Rickert, and these Defendants only,

have been settled. The parties are working diligently to prepare the necessary paperwork and

a Joint Stipulation of Dismissal will be forthcoming.




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                                  Respectfully submitted,




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                                  HEALTH CLINICS, LLC AND CLAYTON
                                  RICKERT




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                              CERTIFICATE OF SERVICE

       I hereby certify that on February 23, 2023, I filed the attached document with the Clerk

of Court. Based on the records currently on file in this case, the Clerk of Court will transmit a

Notice of Electronic Filing to those registered participants of the Electronic Case Filing

System.



                                                     S/CHRIS HAMMONS
                                                   CHRIS HAMMONS




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